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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                            Case Number 09-20403-BC
                                                             Honorable Thomas L. Ludington
v.

D-4 MICHAEL CHARLES TRAYLOR, JR.,

                  Defendant.
_______________________________________/

         ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
        DEFENDANT’S PLEA OF GUILTY AS TO COUNT FIVE OF THE SECOND
     SUPERSEDING INDICTMENT, AND TAKING THE RULE 11 PLEA AGREEMENT
                           UNDER ADVISEMENT

        A plea hearing was conducted on June 29, 2010, by United States Magistrate Judge Charles

E. Binder pursuant to the defendant’s consent. Judge Binder issued his report on June 30, 2010,

recommending that this Court accept the defendant’s plea of guilty as to count five of the second

superseding indictment. As of today’s date, no party has filed any objections to Judge Binder’s

report and recommendation. The election to not file objections to the report releases the Court from

its duty to independently review the record. Thomas v. Arn, 474 U.S. 140, 149 (1985).

        Accordingly, it is ORDERED that the report and recommendation [Dkt. # 81] is

ADOPTED.
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       It is further ORDERED that the defendant’s plea of guilty as to count five of the second

superseding indictment is ACCEPTED, and the Rule 11 Plea Agreement [Dkt. # 80] is taken

UNDER ADVISEMENT.

                                                      s/Thomas L. Ludington
                                                      THOMAS L. LUDINGTON
                                                      United States District Judge
Dated: July 27, 2010


                                               PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on July 27, 2010.

                                                         s/Tracy A. Jacobs
                                                         TRACY A. JACOBS




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